
73 So. 3d 854 (2011)
Jose CONCEPCION, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-2892.
District Court of Appeal of Florida, Fifth District.
November 4, 2011.
Jose Concepcion, Wewahicthka, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and treated as the notice of appeal from Petitioner's violation of probation proceeding in case number 2001-14238-CF, in the Circuit Court of the Ninth Judicial Circuit, in and for Orange County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
TORPY, EVANDER, and COHEN, JJ., concur.
